  Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 1 of 15
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                                                                      IN TITE CIRCUIT COURT OT THE
                                                                 llTH JUDICIAL CIRCUIT IN AND FOR
                                                                      MIAMI DADE COUNTY, FLORIDA

                                                CASE NO.: 2019-019546-CA-01

         SOURAV CHAKRABORTY,

                 Plaintiff,
                                                                                                            n\.^\\
                                                                                                                \: oq 94
        vs.
                                                                                                                E.B.
                                                                                                                2->\G
        THE DISTRICT BOARD OF TRUSTEES OF                       MIAI\I   DADE COLLEGE,

                 Defendant.


                                                SUMMONS IN A CIVIL CASE

        TO: TIIE DISTRICT BOARD OF TRUSTEES OF MIAMI DADE COLLEGE through its
        RegisteredAgent: 300 N.E. 2ND AVE ROMM 1453 MIAMr FL 331.32

        YOU ARA HEREBY S{IMMONED and required to serve upon PLAINTIFF'S ATTORNEY

                                            RAINIER REGUEIRO, ESQ.
                                         REMER & GEORGES.PIERRE, PLLC.
                                               COMEAU BI.IILDING
                                              319 CLEMATIS STREET
                                                    SUITE 606
                                           WEST PALM BEACH, FL. 3340I

        an answer to the complaint which is herewith served upon you, within ?0 days after service of
        this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default
        will be taken against you for the relief demanded in the complaint. You musi also file your
        answer with the Clerk of this Court within a reasonable period of time after service.
                          Harvey    Ruvin,
                          l-lanb aJ l.ar rrlo
                                                          7l12lZO19

        CLERK                                                    DATE


        (BY) DEPInY CLERK




                                                                                                     EXHIB IT

                                                                                                I!    A
  Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 2 of 15
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                                                                         IN THE CIRCUIT COURT OF'THE
                                                                    11TII JUDICIAL CIRCUIT IN AND FOR
                                                                        MIAMI DADE COUNTY, FLORIDA

                                                        CASE NO.:

        souRAv CHAKRABORTY,

                    Plaintiff,

        vs.

        THE DISTRICT BOARD OF TRUSTEES OF MIAMI DADE COLLEGE,

                    Defendant.


                                                      coMPLAINT
                   COMES NOW Plaintif{, SOURAV CHAKRABORTY. (?laintiff), by and through the

        undersigned counsel, and hereby sues Defendant, THE DISTRICT BOARD OF TRUSTEES OF

        MIAMI DADE COLLEGE ("Defendant'),                and alleges as follows:

              1.   This action seeks damages in excess of $15,000.00

              2.   This is an action for declaratory and injunctive relief and damages pursuant to the Florida

        Civil Rights Act of 1992, Florida Statutes, Chapter 760, et seq. ("FCRA"1; and 42U.s.C.          g 2000e-


        2 ("Title    VI'),   to redress injuries resulting from Defendant's unlawful race and national-origin

        based discriminatory treatment of Plaintiffl

              3.   At all times material hereto, Plaintiff was   a residont   of Miami Beach, Florida,
              4.   Defendant is a Florida Not For Profit Corporation authorized to conduct business in the

        State of Florida,

              5.   Venue is proper because all of the actions that form the basis of this Complaint occurred

        within this district.
Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 3 of 15




         6.   All conditions precedent for the filing of this action before this Court   have been previously

     met, including the exhaustion of all pertinent administrative procedures and remedies.




                       FACTUAL ALLEGATTQNS qOMMON TO ALI/ COUNTS

         7,   Plaintiff is an individual of Indian national origin, and within a class of individuals

     protected by the FCRA.

         8.   Plaintiff commenced employment with Defendant from on or about January 2009 as a

     tutor.

         9,   On or about July 1,20L6 there was a nsw pay code implernented at the college.

         10. PlaintifPs Lab Manager Bahaa Mourad, informed him that he was being underpaid.

         11. Plaintiff then emailed the secretary of chair in the math department, Natasha Desir (Black

     Haitian) in regards to not being paid what he was entitled to due to the requirements on the pay

     code.

         12. One of   Plaintiff   s coworkers who is also a Black Haitian   individual is getting paid what is

     indicated by the code.

         13. Plaintiff has the same degree as him as well as having more years of experience in tutoring.

         14. On or about October 5, 2018 Natasha emailed Plaintiff and stated that he was to submit his

     transcripts to her if he hadn't already done so.

         15. She informed     him that this was to update his information in the system in order to start

     getting paid $12.54 rather than $9.00.

         16. Natasha also informed himthat the companywould retroactively paythe difference ofwhat

     he was owed   fromJuly 1,2016
Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 4 of 15




            l7.On or about October 8, 2018 Plaintiff        contacted Natasha   in regards to her updating his

     information in the system and she told him that he needed to speak to his manager Bahaa not her.

            18. At that point Plaintiff felt like was being ignored and not taken seriously.

            19.   Plaintiffspoke to Bahaa and she informed him that day that the company did not wish to

     retroactively pay him what he was owed from July 1,2A16 through present day.

           20. Plaintiffnot only tutors but he is also a Learning Assistant.

           21. Despite his complaintso the company continues to not payhirn at the proper rate.

            22. Allthe other non-Indian employees are getting paid what they are entitled to according to

     the pay code.

                                                       COTINT I
                                      Rqce Discriminationin Violation of the FCRA
           23. Plaintiffre-adopts each and every factual allegation as stated in paragraphs l-22 above as

     if   set out in   full herein,

           24. Plaintiff is a member of a protected class under the FCRA.

           25.8y the conduct describe above, Defendant has engaged in discrimination against Plaintiff

     because       ofPlaintiffs race and subjected the Plaintiffto   race-based animosity.

           26. Such discrimination was based upon the Plaintiff s race in that Plaintiff would not have

     been the object of discrimination but for the fact that Plaintiff is not   white.

           27. Defendant's conduct complained         of herein was willful and in disregard of Plaintiff   s

     protected rights. Defendant and its supervisory personnel were aware that discrimination on the

     basis of Plaintiff s race was unlawful but acted in reckless disregard of the law.

           28.    At all times material hereto, the   employees exhibiting discriminatory conduct towards

     Plaintiff possessed the authority to affect the terms, conditions, and privileges of plaintiffs

     employment with the Defendant.
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        29. Defendant retained      all employees who exhibited discrirninatory        conduct toward the

     Plaintiff and did so despite the knowledge of said employees engaging in discriminatory actions.

        30. As a result of Defendant's actions, as alleged herein, Plaintiff has been deprived of rights,

     has been exposed to   ridicule and embarrassment, and has suffered emotional distress and damage.

        31. The conduct of Defendant, by and tluough the conduct of its agents, employees, and/or

     representatives, and the Defendant's failure to make prompt remedial action to prevent continued

     discrimination against the Plaintif{ deprived the Plaintiff of statutory rights under federal law.

        32.The actions of the Defendant and/or its agents were willful, wanton, and intentional, and

     with malice or reckless indifference to the Plaintiffs statutorily protected rights, thus entitling

     Plaintiff to damages in the form of compensatory and punitive damages pursuant to federal law,

     to punish the Defendant for its actions and to deter it, and others, from such action in the future.

         33. Plaintiff has suffered and   will continue to suffer both   irreparable injury and compensable

     damages as a result of Defendant's discriminatory practices unless and until this Honorable Court


     $ants relief.

     WHEREFORE, Plaintiffs respectfully prays for the following relief against Defendant:

             a,   Adjudge and decree that Defendant has violated the FCRA, and has done so willfully,

                  intentionally, and with reckless disregard for Plaintiffs rights;

            b.    Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, benefits'

                  adjustment, and prejudgment interest at amounts to be proved attrial for the unlawful

                  employment practices described herein;

             c.   Enter an award against Defendant and award Plaintiff compensatory damages for

                  mental anguish, personal suffering, and loss of enjoyment of life;

             d,   Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the
Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 6 of 15




                     full benefits Plaintiff would have had Plaintiff not been discriminated against by

                     Defendant, or in lieu of reinstatement, award front pay;

                e.   Award Plaintiff the costs of this action, together with a reasonable attorney fees; and

                f,   Grant Plaintiff such additional relief as the Court deems just and proper under the

                     chcumstances.



                              National origin   o^rffio             viotation the FCRA

          34. Plaintiff re-adopts each and every factual allegation as stated in paragraphs      l-22 of this

     complaint as if set out in fulIherein.

          35. Plaintiff is a member of a protected class under the FCRA.

      .   36. By the conduct describe above, Defendant has engaged in discrimination against Plaintiff

     because of      Plaintiffs national origin and subjected the Plaintiff to animosity based on national

     origin.

          37. Such discrimination was based upon the Plaintiff s national origin in that Plaintiff would

     not have been the object of discrimination but for the fact that Plaintiff is Cuban,

          38. Defendant's conduct complained         of herein was willful and in disregard of Plaintiffs

     protected rights. Defendant and its supervisory personnel were aware that discrimination on the

     basis of naiional origin was unlawful but acted in reckless disregard of the law.

          39.   At all times material hereto, the employees exhibiting discriminatory conduct        towards

     Plaintiff possessed the authority to affect the terms, conditions, and privileges of Plaintiffs

     employment with the Defendant.

          40. Defendant retained       all   employees   who exhibited discriminatory conduct toward      the

     Plaintiff and did so despite the knowledge of said employees engaging in discriminatory actions.

          41. As a result of Defendant's actions, as alleged herein, Plaintiff has been deprived of rights,
Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 7 of 15




     has been exposed to   ridicule and embarrassment, and has suffered emotional distress and damage.

         42.The conduct of Defendant, by and through the conduct of its agents, employees, and/or

     representatives, and the Defendant's failure to make prompt remedial action to prevent continued

     discrimination against the Plaintiff deprived the Plaintiff of statutory rights under federal law.

         43. The actions of the Defendant and/or its agents were willful, wanton, and intentional" and

     with malice or reckless indifference to the Plaintiff s statutorily protected rights, thus entitling

     Plaintiff to damages in the form of compensatory and punitive damages pursuant to federal law,

     to punish the Defendant for its actions and to deter it, and others, from such action in the future,

         44. Plaintiff has suffered and   will continue to suffer both ineparable injury    and compensable

     damages as a result of Defendant's discriminatory practices unless and until this Honorable Court

     grants relief.

     WHSREFORE, Plaintiff respectfully prays for the following relief against Defendant:

             a.   Adjudge and decree that Defendant has violated the FCRA, and has done so willfully,

                  intentionally, and with reckless disregard for Plaintiffs' rights;

             b.   Enter a judgment requiring that Defendant pay Plaintiff appropriate back pay, benefits'

                  adjustment, and prejudgment interest at amounts to be proved at trial for the unlawful

                  employment practices described herein;

             c.   Enter an award against Defendant and award Plaintiff compensatory damages for

                  mental anguish, personal suffering, and loss of enjoyment of life;

             d.   Require Defendant to reinstate Plaintiff to the position at the rate of pay and with the

                  full benefits Plaintiff would have had Plaintiff not been discriminated against by

                  Defendant, or in lieu of reinstatement, award front pay;

             e.   Award Plaintiff the costs of this action, together with   a reasonable   attomey fees; and
Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 8 of 15




          fl   Grant Plaintiff such additional relief as the Court deems just and proper under the

               circumstances.




                                               I
Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 9 of 15




                                              JURY DEMANI)

              Plaintiff demands trial by jury of all issues triable as of right by jury.



     Dated:             6t28t2019                                              Respectfu   lly submitted,


                                                              /s/ Rainier Regueiro
                                                              Rainier Regueiro, Esq,
                                                              Florida Bar Nurnber: I I 5578
                                                                               m
                                                              rre gueiro @rgpattorneys. co
                                                              REMER & GEORGES-PIERRE, PLLC
                                                              COMEAU BUILDING
                                                              319 Clematis Street, Suite 606
                                                              West Palm Beach, FL 33401
                                                              Telephone: (5 6l) 225 -197 0
                                                              Facsimile: (305) 416-5005
    Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 10 of 15
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                                                                IN THE CIRCUIT COURT OF THE
                                                            TlTH JUDICIAL CIRCUIT IN AND FOR
                                                                MIAMI DADE COUNTY, FLORIDA

                                       CASE NO.: 2019-019546-CA-01

        SOURAV CHAKRABORTY,

                 Plaintiff,

        vs.

        THE DISTRICT BOARD OF TRUSTEES OF MIAMI DADE COLLEGE'

                 Defendant.


                                        SUMMONS IN A       CIVL    CASE

        TO: TFIE DISTRICT BOARD OF TRUSTEES OF MIAMI DADE COLLEGE through its
        Registered Agent:

        yOU ARE HEREBY SUMMONED                and required to serve upon   PLAINTIFF'S ATTORNEY

                                       RAINIER REGUEIRO, ESQ.
                                    REMER & GEORGES.PIERRE, PLLC,
                                         COMEAU BUILDING
                                        319 CLEMATIS STREET
                                              SUITE 606
                                      WEST PALM BEACH, FL, 3340I

        an answer to the complaint which is herewith served upon you, within 20 davs after service of
        this summons upon you, exclusive of the day of service. If you fail to do so, judgrnent by default
        will be taken against you for the relief demanded in the complaint. You must also file your
        answer with the Clerk of this Court within a reasonable period of time after service.



         CLERK                                               DATE


         (BY) DEPUTY CLERK
     Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 11 of 15
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                                                                      IN THtr CIRCUIT COURT OF THE
                                                                  llTH JUDICIAL CIRCUIT IN AND FOR
                                                                      MIAMI DADE COUNTY, FLORIDA

                                                 CASE NO.: 2019-019546-CA-01

         SOURAV CHAKRABORTY,

                 PIaintiff,

        vs.

         THE DISTRICT BOARD OF TRUSTEES OF MIAMI DADE COLLEGE,

                 Defendant.


                                                 SUMMONS IN A CIVIL CASf,

         TO: TFIE DISTzuCT BOARD OF TRUSTEES OF MIAMI DADE COLLEGE through                        its
         Registered Agent:

         YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATTORNEY

                                             RAINIER REGUEIRO, ESQ.
                                          REMER & GEORGES-PIERRE, PLLC.
                                                COMEAU BUILDING
                                              3 I9 CLEMATIS STREET
                                                     SUITE 606
                                            WEST PALM BEACH, FL. 3340I

         an answer to the complaint whic.h is herewith served upon you, within 20 davs after service    of
         this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default
         will be taken against you for the relief demanded in the complaint. You must also file your
         allswer with the Clerk of this Court within a reasonable period of time after service.
                              Harvey Ruvin,                 7t12t2019
                              Clorb n( Cnrrrlc
         CLERK                                                     DATE


         (BY) DEPUTY CLERK
    Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 12 of 15
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                                                             RFTUFN OF SERVTCE

       State of Florlda                                         County ol MIAMI DADE                                                             Clrcult Gourt

       Case Number: 2019-01 9546-CA-01

       Plaintiff:
       SOURAV CHAKRABORT
                                                                                                                     ilt    lllililillilllllllilll
                                                                                                                                    PPJ2019003857
                                                                                                                                                   IllllI llllll
       vs,
       Defendant:
       THE DISTRICT BOARD OF TRUSTEES OF
       MIAMI DADE COLLEGE

       For:
       Rainier Regueiro
       Remer & Georges-Pierre, Pllc.
       44 West Flagler Streel
       Suite 2200
       Mlami, FL 33130

       Received by Prestige Process on thE 1Oth day of September, 201 I at 1 1 :06 am to be served on THE DISTRICT BOARD OF
       TRUSTEES OF MIAM|DADE COLLEGE,300 NE zND AVE, ROOM 1453, MlAMl, FL 33132.

       l, ROXANA BITHMAN, do hereby affirm thal on the 27th day of September, 2019 at 1:04 pm, l:

       served a PUBLIC AGENCY by delivering a true copy of the SUMMONS lN A CIVIL CASE and COMPLAINTwith the date
       and hour of service endorsed thereon by mo, to: BETZABEL GONZALEZ a$ LEGAL ASST TO JAVIER LEY€OTO'
       REGISTERED AGENTfoT THE DISTRICT BOARD OF TRUSTEES OF MIAMI DADE COLLEGEAT thE AddrESS Of: 3OO NE
       zND AVE, ROOM 1453, MlAMl, FL 33132 and lnforming said person of the contents thereln.


       I certifu that I am over the age of 19, have no interest in the above action, and am a Certified Process Server,.ln good .
       standing, in the judicial circuit in which lhe process was served. Under the perjury, I declare that I have read the foregoing
       documeht and the facts ln lt are true. NO NOTARY REQUIRED PURSUANT TO F.S.92.525(2)




                                                                                                                 L*:rt"P-
                                                                                                 ROXANA SITHMAN
                                                                                                 cPE #2216

                                                                                                 Preetlge Process
                                                                                                 P.O Box 613634
                                                                                                 Mlami, FL 33261
                                                                                                 {3os) 4904346

                                                                                                 Our Job Serial Number: PPJ-2019003857


                                             CoptrighlO   1992-20'18 Databas€ S€ruDes,   lnt.'Proc€s$ gerve/s Te{boxVE lg
    Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 13 of 15

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                                                                 IN THE CIRCUIT COURT OF THE
                                                            I ITH JUDICIAL CTRCUIT IN AND FOR
                                                                 MIAIVII DADE COUNTY, FLORIDA

                                          CASE NO.: 2019-0t9546-CA-01

        souRAv CHAKRABORTY,
                 Plaintiff,

        vs.

        THE DISTRICT BOARD OF TRUSTEES OF MIAMI DADE COLLEGE'

                 Defendant.


                                          SUMMONS IN A CIVTL CASE

         TO: T}IE DISTzuCT BOARD OF TRUSTEES OF MIAMI DADE COLLEGE thTOUgh itS
         RegisteredAgent: 300 N.E. ZND AVE RoMM 1453 MrAMr FL 331-32

         yOU ARE HERBBY SUMMONED                and required to serve upon   PLAINTIFF'S ATTORNEY

                                           RAINIER REGUEIRO, ESQ,
                                        REMER & GEORGES.PIERRE, PLLC,
                                              COMEAU BUILDING
                                            3I9 CLEMATIS STREET
                                                  SUITE 606
                                          WEST PALM BEACH, FL. 33401

         an answer to the complaint  which is herewith served upon you' within ?0 days after service of
                                                                                        judgment by default
         this surnmons upon ylu, e*clusive of the day of servicl, tf you fail to do so,
         will be taken againti you for the relief demanded in the complaint. You must also file your
         answer with the Clerk of this Court within a reasonable period of time after service,
                              HarveY   Ruvin,         711212019

         CLERK                                                DATE


         (BY) DEPUTY CLERK
      Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 14 of 15
Filing # 91 885272 E-FiledA6128120 I 9 06:35:45 PM

   FORM 1.997. CIVIL COVER SHEET

   The civil cover sheet and the information contained in it neither replace nor supplemenl the filing and service of pleadings
   or other documents as required by law. This form must be filed by the plaintiff or petitioner for the use of the Clerk of
   Court for the purpose of reporting judicial workload data pursuant to section 25.075, Florida Statutes. (See instructions for
   completion.)


                     CASE STYLE
                                             IN THE CIRCUIT COURT OF THE ELEV ENTH JUDICIAL CIRCUIT
                                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA




                                                                              Case    No.:_
                                                                              Judge
   SOURAV CHAKRABORTY
   Plaintiff
                    VS.
                                                                          D
   Defendant


       II.           TYPE OF CASE

                                                                                        !    Non-homestead residentialforeclosure
               I    Condominium                                                              $250,00 or more
               I    Contracts and indebtedness                                          tl   Other real property actions $0 - $50,000
               D    Eminent domain
                                                                                        tl   Other real property actions $50,001 - $249,S99
               fl   Auto negligence                                                     n    Other real property actions $250,000 or more
               [f   Negligence - other
                                                                                       tr    Professionalmalpractice
                    []. Business governance                                                    tr
                    n Business torts                                                                  Malpractice   - business
                    tr    Environmentalffoxictort
                                                                                               F      Malpractice   - medical
                    n     Third party indemnification
                                                                                               tr     Malpractice   - other professional
                    tl    Construction defect
                                                                                       A     Other

                    n     Mass tort
                                                                                               tr     AntitrusUTrade Regulation

                    tr    Negligent securitY
                                                                                               tl     Business Transaction

                    n     Nursing home negligence
                                                                                               n      Circuit Civil- Not APPlicable
                                                                                               n      Constitutionalchallenge-statuteor
                    _E    Premises liabili$ - commercial                                              ordinance
                    tr    Premises liability - residential                                     n      Constitutional challenge-proposed
               D     Products liability                                                               amendment
               D     Real Property/Mortgage foreclosure                                        D      Corporate Trusts
                     n Commercial foreclosure $0 - $50,000                                     E      Discrimination-employmentorother
                     n Commercialforeclosure $50,001 - $249,999                                tr     lnsurance claims
                     il Commercial foreclosure $250,000 or more                                tr     lntellectual propertY
                     tf Homestead residential foreclosure $0 - 50,000                          n      Libel/Slander
                     tr- Homestead residential foreclosure $50,001 -                           n      Shareholder derivative action
                          $249,999                                                             tl     Securities litigation
                     tl   Homestead residential foreclosure $250,000 or                        n      Trade secrets
                          more
                     n    Non-homestead residential foreclosure $0 -
                                                                                               tr     Trust litigation
                          $50,000
                     tr   Non-homestead residentialforeclosure
                          $50,001 - $249,999
  Case 1:19-cv-24283-DPG Document 1-2 Entered on FLSD Docket 10/17/2019 Page 15 of 15


                                                     COMPLEX BUSINESS COURT

       This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
       Administrative Order. Yes n No E


        ilt.    REMEDTES SOUGHT (check allthat apply):
                    .A   Monetary;
                    n    Non-monetary declaratory or injunctive relief;
                    n    Punitive

        IV      NUMBER OF CAUSES OF ACTION:               (    )
                (specify)


                2


        V       IS THIS CASE A CLASS ACTION I.AWSUIT?
                    fl  Yes
                    ANo
        VI      HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                    BNo
                    tr   Yes   -   lf "yes" list all related cases by name, case number and court




        vil.    IS JURY TRIAL DEMANDED IN COMPLAINT?
                     E Yes
                     nNo


I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that I have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

Signature sl Rainier Rezueiro FL Bar No.: I 15578
          Attorney or party                                                    (Bar number, if attorney)

        Rainier Regueiro             06128/ZAt9
                 (Type or print name)                                             Date
